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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                            CASE NO. 1:04-cr-00006-MP-AK

DAVID LARRY JONES,

       Defendant.

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                                           ORDER

       This matter is before the Court on Doc. 802, Motion for Reduction of Sentence by

Retroactive Application of the Amendments to the Sentencing Guidelines to Crack Cocaine

Offense under 18 U.S.C. § 3582 by David Larry Jones. The motion appears to be simply a

restatement of the motion at Doc. 797, which was previously denied by an order at Doc. 799,

dated 12 days before the filing of the instant motion. The motion is therefore denied.

       DONE AND ORDERED this 18th day of August, 2009


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
